

Chen v Chen (2018 NY Slip Op 06422)





Chen v Chen


2018 NY Slip Op 06422


Decided on September 28, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on September 28, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., PERADOTTO, LINDLEY, DEJOSEPH, AND CURRAN, JJ.


1066 CA 18-00099

[*1]AGNIESZKA CHEN, PLAINTIFF-RESPONDENT,
vWILLIAM CHEN, DEFENDANT-APPELLANT. (APPEAL NO. 3.) 






WILLIAM CHEN, BRONX, DEFENDANT-APPELLANT PRO SE.
FERON POLEON, LLP, AMHERST (KATIE M. POLEON OF COUNSEL), FOR PLAINTIFF-RESPONDENT. 


	Appeal from an order and judgment (one paper) of the Supreme Court, Erie County (Sharon S. Townsend, J.), entered December 19, 2017. The order and judgment, among other things, granted a money judgment to plaintiff's attorney against defendant. 
It is hereby ORDERED that the order and judgment so appealed from is unanimously affirmed without costs.
Entered: September 28, 2018
Mark W. Bennett
Clerk of the Court








